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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                         CASE NO. 8:11CR127-001

      vs.
                                                              MEMORANDUM
CARLOS FRANCISCO GASPAR-PENA,                                  AND ORDER

                     Defendant.


       This matter is before the court for initial review of the Motion Under 28 U.S.C. §

2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (“§

2255 motion") filed by the defendant, Carlos Francisco Gaspar-Pena (Filing No. 127).

Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of the defendant’s § 2255 motion. Rule 4(b) states:

              The judge who receives the motion must promptly examine it. If it
       plainly appears from the motion, any attached exhibits, and the record of
       prior proceedings that the moving party is not entitled to relief, the judge
       must dismiss the motion and direct the clerk to notify the moving party. If
       the motion is not dismissed, the judge must order the United States
       attorney to file an answer, motion, or other response within a fixed time, or
       to take other action the judge may order.

                                  FACTUAL BACKGROUND

       On September 7, 2011, Gaspar-Pena entered a plea of guilty to Count I of the

Indictment, charging him with conspiracy to distribute and possess with intent to

distribute 50 grams or more of actual methamphetamine, in violation of 21 U.S.C. § 846.

His statutory term of imprisonment was 10 years to life. His plea petition, his plea

agreement, and his statement at his change-of-plea hearing indicated his satisfaction

with his attorney, Michael Gooch. (Filing No. 59; Filing No. 60, p. 2; Filing No. 61, p. 7.)
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On December 5, 2011, Gaspar-Pena was sentenced to the mandatory minimum term of

ten years’ imprisonment, to be followed by five years’ supervised release.            The

Judgment was entered on December 6, 2011.            Gaspar-Pena did not appeal his

sentence.

      On March 18, 2013, Gaspar-Pena filed his § 2255 motion, alleging ineffective

assistance of counsel and fundamental miscarriage of justice, although it is not clear

what acts or omissions on the part of counsel form the basis for Gaspar-Pena’s

concerns. He cites to Missouri v. Frye, 132 S. Ct. 1399 (2012),1 and Lafler v. Cooper,

132 S. Ct. 1376 (2012)2 when asking the Court to excuse the untimeliness of his § 2255

Motion.




      1
         In deciding Frye on March 21, 2012, the Supreme Court held “that, as a general
rule, defense counsel has the duty to communicate formal offers from the prosecution to
accept a plea on terms and conditions that may be favorable to the accused.” Frye, 132
S. Ct. at 1408. The Court also determined that, assuming counsel fails to communicate
favorable plea offers, in order to show prejudice a defendant “must demonstrate a
reasonable probability that the end result of the criminal process would have been more
favorable by reason of a plea to a lesser charge or a sentence of less prison time.” Id.
at 1409.
      2
        In deciding Cooper on the same date as Frye, the Supreme Court held that
where an attorney’s ineffective advice leads to a defendant’s rejection of a plea offer
and the alleged prejudice is having to go to trial, a defendant must show:

      that but for the ineffective advice of counsel there is a reasonable
      probability that the plea offer would have been presented to the court . . .,
      that the court would have accepted its terms, and that the conviction or
      sentence, or both, under the offer’s terms would have been less severe
      that under the judgment and sentence that in fact were imposed.
      Cooper, 132 S. Ct. at 1385.
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                                        DISCUSSION

   I.      Timeliness

        As amended by the Antiterrorism and Effective Death Penalty Act of 1996

("AEDPA"), 28 U.S.C. § 2255 imposes a one-year statute of limitations on § 2255

motions, stating in pertinent part:

               A 1-year period of limitation shall apply to a motion under this
        section. The limitation period shall run from the latest of–

              (1)    the date on which the judgment of conviction becomes final;

              (2)    the date on which the impediment to making a motion
        created by governmental action in violation of the Constitution or laws of
        the United States is removed, if the movant was prevented from making a
        motion by such governmental action;

              (3)   the date on which the right asserted was initially recognized
        by the Supreme Court, if that right has been newly recognized by the
        Supreme Court and made retroactively applicable to cases on collateral
        review; or

               (4)  the date on which the facts supporting the claim or claims
        presented could have been discovered through the exercise of due
        diligence.

28 U.S.C. § 2255(f)(1)-(4).

        Gaspar-Pena states that he did not file his § 2255 motion earlier because the

cited Supreme Court decisions were not decided until March 21, 2012. Therefore, he

appears to rely on § 2255(f)(3) in construing March 21, 2012, as the date from which his

one-year statute of limitations runs.

        Whether Frye and Cooper support the application of § 2255(f)(3) has not yet

specifically been considered by the Eighth Circuit Court of Appeals.       However, the

Honorable Richard G. Kopf addressed the issue in deciding United States v. Cooper,


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891 F. Supp. 2d 1071 (D. Neb. 2012). Judge Kopf concluded that Cooper’s argument

was foreclosed and he could not rely on § 2255(f)(3) because for decades the Eighth

Circuit Court of Appeals has considered Strickland v. Washington, 466 U.S. 668 (2012),

when reviewing claims of ineffective assistance of counsel with respect to accepted plea

bargains. Cooper, 891 F. Supp. 2d at 1075. This Court agrees with Judge Kopf’s

reasoning, which applies here. Gaspar-Pena’s plea agreement was accepted, and he

simply argues that the terms of his accepted agreement were not negotiated to his

satisfaction, so he may not rely on § 2255(f)(3). Absent a later triggering date under

subsections (2)-(4) above, the one-year period for filing a § 2255 motion began to run

on the date the challenged judgment becomes final, i.e., upon conclusion of direct

review or at the end of the time for seeking such review. Because Gaspar-Pena did not

appeal his sentence, his judgment became final when the time for filing a notice of

appeal expired—fourteen days after the entry of the judgment on December 6, 2011.

Applying the three-day mailing rule, the latest date on which his time for filing a notice of

appeal expired was December 23, 2011, causing the one-year limitations period for the

filing of a § 2255 motion to expire on December 23, 2012. Gaspar-Pena filed his § 2255

motion well after the expiration of the limitations period, and his § 2255 motion is

untimely.

   II.      Merits

         Even assuming, for the sake of argument, that Gaspar-Pena’s motion could be

considered timely, the Court would be deny the motion on the merits. Gaspar-Pena

makes broad allegations of ineffective assistance of counsel and denial of justice, and

suggests that the Supreme Court decisions in Frye and Lafler provide him with some

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right of redress. Neither case is relevant, however, as Frye involved plea offers that

were not communicated and expired, and Lafler related to counsel’s advice to reject a

plea offer and proceed to trial. Gaspar-Pena has not alleged that a previous plea offer

was not communicated to him, and his case did not involve rejection of a plea offer and

a subsequent trial. Therefore, even if his case were to proceed for a consideration of

the merits on initial review, in light of the grounds raised, the record shows that he is not

entitled to relief.

        Accordingly,

        IT IS ORDERED:

        1.      The Court has completed its initial review of the Defendant’s Motion under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody (“§ 2255 motion”) (Filing No. 127);

        2.      The claims raised in the Defendant's § 2255 motion are summarily denied;

        3.      A separate Judgment will be entered; and

        4.      The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.


        Dated this 9th day of April, 2013.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  Chief United States District Judge




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